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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF CALIFORNIA


IN RE OMAR ABDULSATTAR AMEEN


DOCKET NUMBER 2:18-MJ-00152-EFB


              REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE
                            (LETTER ROGATORY)

        The District Court of the United States of America, Eastern District of California,
presents its compliments to the appropriate judicial and administrative authorities of the Republic
of Turkey, and requests international judicial assistance to obtain evidence to be used in an
extradition proceeding before this Court in the above captioned matter. A hearing on this matter
is scheduled at present for the 25th of February, 2019, in Sacramento, California, United States.

        This Court requests the assistance described herein as necessary in the interests of justice.
The assistance requested is that the appropriate judicial or administrative authority of the
Republic of Turkey authorize the following Turkish government agency to produce documents
held regarding Omar Abdulsattar Ameen, Turkish identification number (kimlik) 99247350122,
date of birth December 20, 1973. (A copy of Mr. Ameen’s Turkish identity card is attached.)

Mersin Immigration Office
MERSİN VALİLİĞİ İL GÖÇ İDARESİ MÜDÜRLÜĞÜ
Cami Şerif Mahallesi, Uray Cd. No:17, 33060
Akdeniz/Mersin, Turkey

        The request is for the full file held by this office relating to Omar Abdulsattar Ameen,
who was a registered refugee living in Mersin, Turkey from 2012 to 2014. This request is made
pursuant to a submission by Mr. Ameen, who seeks this file to aid his defense. The Court asks
that the requested documents be provided in the manner that they are held in the original file.
The Court asks that correspondence regarding this request be referred to the Office of the Federal
Defender, 801 I St., 3rd Floor, Sacramento, CA 95814 USA, care of Chief Assistant Federal
Defender Benjamin Galloway at Ben_Galloway@fd.org.

Facts

        Mr. Ameen is charged in the Republic of Iraq with murder a committed in June 2014.
Mr. Ameen has been a resident refugee in the United States of America since November 2014.
He lived in the Republic of Turkey from early 2012 until November 2014. Mr. Ameen has
indicated that he did not leave Turkey in June 2014. Mr. Ameen’s defense team believes that his
refugee file in Mersin contains documents supporting his defense. A defense investigator has

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spoken with staff at the requested office, which has confirmed the existence of the file and of
documents that are helpful to Mr. Ameen’s defense. That staff has indicated that it requires
authorization to produce the file.

Reciprocity

       This Court is available to provide you reciprocal assistance at your request.

Reimbursement for costs

       The requesting office, the Office of the Federal Defender, is able to repay costs incurred
by your court or agency in obtaining these records. Please provide cost requests to the Office of
the Federal Defender, 801 I St., 3rd Floor, Sacramento, CA 95814 USA, care of Chief Assistant
Federal Defender Benjamin Galloway at Ben_Galloway@fd.org.

                                                     Respectfully submitted,



Dated: December 21, 2018.                            _______________________________
                                                     HON. EDMUND F. BRENNAN
                                                     UNITED STATES MAGISTRATE JUDGE
                                                     SACRAMENTO, CALIFORNIA, USA

 




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